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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
                                                 §
                                                 §
v.                                               §                         No. 4:22-CR-00612-S
                                                 §
                                                 §
                                                 §
EDWARD CONSTANTINESCU, et al.                    §
                                                 §

 DEFENDANT EDWARD CONSTANTINESCU’S UNOPPOSED MOTION TO ALLOW
        TRAVEL AND TO MODIFY PRETRIAL BOND CONDITIONS

       Defendant Edward Constantinescu (“Defendant” or “Constantinescu”), by and through his

undersigned counsel, respectfully moves the Court to modify the Defendant’s conditions of bond

going forward to allow for travel to and within the Western District of Texas for the purpose of

meeting with his attorneys so long as pretrial services receives notification prior to travel. The

Government does not oppose the requested relief in this motion.

                               I.     PROCEDURAL HISTORY

       Constantinescu was charged by sealed indictment in this district on December 7, 2022.

(Dkt. 1). He was arrested and brought before the court on December 16, 2022. (See generally

Docket). During the arraignment, the Government did not move for detention, and Magistrate

Judge Bryan set pretrial bond conditions. Id. Constantinescu was released on a $2,000,000

secured bond.

       As part of his conditions of bond, Constantinescu’s travel is restricted to the Southern

District of Texas. (Dkt. 64). On February 8, 2023, the Government filed a Superseding Indictment,

(Dkt. 134), and Constantinescu was arraigned on February 14, 2023, before Magistrate Judge




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Palermo.      Constantinescu’s conditions of bond have not changed since his arraignment on

December 16, 2022. (Dkt. 64).

                                  II.     REQUESTED RELIEF

       Constantinescu’s current bond restricts his travel to within the Southern District of Texas

only. (Dkt. 64). Constantinescu requests that this condition of bond be modified to also allow for

travel within the Western District of Texas for the purpose of meeting with his attorneys (with

notification of pretrial services prior to travel). Constantinescu needs to travel into the Western

District to confer with his counsel and legal team—Ford O’Brien Landy LLP—who reside in

Austin, Texas. Without objection from the Government, this request is made in the interest of

judicial economy as opposed to burdening the Court with motions to travel to the nearby Western

District with frequency.

                                  III.    LEGAL ARGUMENT

       The Bail Reform Act (the “Act”), 18 U.S.C. § 3141, et seq., (“The Act”) provides that a

person shall be released on his recognizance unless no condition or combination of conditions will

reasonably assure the appearance of the person and the safety of the community. 18 U.S.C. §

3142(b). If the court determines that a personal recognizance bond is not sufficient, then the court

shall order the defendant released subject to the conditions that the defendant not commit a federal,

state, or local crime while on release and “subject to the least restrictive further condition, or

combination of conditions, that such judicial officer determines will reasonably assure the

appearance of the person as required and the safety of any other person and the community[.]” 18

U.S.C. § 3142(c)(1)(B). The conditions of release can be amended at any time. 18 U.S.C. §

3142(c)(3).




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       The Government does not oppose the requested relief herein, and Constantinescu’s

requested relief does not alter the reasonable assurance that he will appear when commanded.

                                     IV.    CONCLUSION

       For these reasons, Defendant Constantinescu respectfully requests that this Court grant this

Motion to Allow for Travel outside the Southern District and to Modify Pretrial Bond Conditions

to Allow for Travel within the Western District of Texas.



Dated: March 8, 2023                                        Respectfully submitted,

                                                            /s/ Matthew A. Ford
                                                            Matthew A. Ford
                                                            Texas Bar No. 24119390
                                                            Cara J. Filippelli
                                                            Texas Bar No. 24126183
                                                            Ford O’Brien Landy LLP
                                                            3700 Ranch Road 620 South, Suite B
                                                            Austin, Texas 78738
                                                            Telephone: (212) 858-0040
                                                            Facsimile: (212) 256-1047
                                                            mford@fordobrien.com
                                                            cfilippelli@fordobrien.com

                                                            Attorneys for Defendant
                                                            Edward Constantinescu




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                               CERTIFICATE OF CONFERENCE

          On March 8, 2023, the undersigned communicated with United States Attorney’s Office

for the Southern District of Texas who indicated that the government did not oppose the requested

relief.

                                                             /s/ Matthew A. Ford
                                                             Matthew A. Ford


                                  CERTIFICATE OF SERVICE

          I hereby certify that on March 8, 2023, a true and correct copy of the foregoing document

has been electronically served on all counsel of record via the Court’s CM/ECF system.

                                                             /s/ Matthew A. Ford
                                                             Matthew A. Ford




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